Case 5:18-cr-00005-EKD Document 467 Filed 07/02/20 Page 1 of 16 Pageid#: 2275




                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF VIRGINIA
                           HARRISONBURG DIVISION

    UNITED STATES OF AMERICA )
                             )
    v.                       )                Case No. 5:18cr5
                             )
    JUDITH WRIGHT            )                Hon. Elizabeth K. Dillon

          SUPPLEMENTAL MOTION FOR COMPASSIONATE RELEASE
                   IN LIGHT OF COVID-19 PANDEMIC

          Ms. Wright, through the undersigned counsel, now files this Supplemental

    Motion for Compassionate Release based on the risk posed to her from the

    COVID-19 virus. Specifically, Ms. Wright’s conditions—HIV and asthma—place

    her at a greater risk for serious complications resulting from the virus. Ms.

    Wright is also at increased risk of contracting COVID-19 given the widespread

    COVID-19 outbreak in Bureau of Prisons. Ms. Wright has exhausted her

    administrative remedies, and the section 3553(a) factors support her release. This

    Court should release her without delay.

                                   INTRODUCTION

         By now, this Court is unfortunately familiar with the impact of the Covid-19

virus. There are over 2.6 million cases in the United States, and over one hundred

and twenty-seven thousand people in this country have died. 1 In Virginia alone,

there are more than 63,000 cases and almost 1,800 deaths. 2 . We have been told by



1
 https://www.nytimes.com/interactive/2020/world/coronavirus-maps.html (last
visited July 1, 2020).
2 https://www.vdh.virginia.gov/coronavirus/ (last visited July 1, 2020).
Case 5:18-cr-00005-EKD Document 467 Filed 07/02/20 Page 2 of 16 Pageid#: 2276




the authorities to stay home, stay safe, and not be closer than six feet to anyone.

Older persons, persons with weakened immune systems and those with underlying

health problems need to take ever greater precautions because of the dangerous

aspects of this particular virus.

      By this emergency motion, Mr. Wright seeks immediate release from FCI

Greenville to serve the remainder of her custodial term in home detention. She

seeks this relief pursuant to 18 U.S.C. § 3582, as modified by the First Step Act,

and do so in order to protect her Eighth Amendment and Due Process rights. As

discussed more fully below, Ms. Wright’s health profile matches those who are

commonly identified as at risk of contracting and suffering the most severe health

consequences – hospitalization or death.

      Mr. Wright suffers from asthma and is HIV positive, both of which place her

of increased risk from COVID-19. See Ex. A, excerpts of medical records (filed

under seal). In addition, she has an as-yet undetermined thyroid disorder which

has caused thyroid nodules to form. While these nodules are benign, they may lead

to further complications if they compromise her thyroid functioning. 3

      Ms. Wright is currently incarcerated at FCI Greenville. Greenville is a

medium security prison in Illinois housing 994 inmates, with a minimum security

satellite camp, currently housing 257 prisoners. 4 Ms. Wright is housed at the camp.


3
 See https://www.mayoclinic.org/diseases-conditions/thyroid-nodules/symptoms-
causes/syc-
20355262#:~:text=Hashimoto's%20disease%2C%20a%20thyroid%20disorder,deficie
ncy%20or%20a%20thyroid%20disorder.
4 https://www.bop.gov/locations/institutions/gre/.


                                           2
Case 5:18-cr-00005-EKD Document 467 Filed 07/02/20 Page 3 of 16 Pageid#: 2277




FCI Greenville has reported a positive COVID-19 case in an inmate, but is not

reporting current COVID-19 cases. 5 While BOP reports that the case at Greenville

has “recovered,” there is reason to doubt that “recovery” is as definitive as it might

appear on paper. For example, an inmate at FCI Terminal Island who had tested

positive in April, and then been listed as “recovered,” died on May 24. 6 This

unfortunately squares with the data regarding death rates in BOP: while the

number of confirmed positive inmates has hovered between 1,200 and 2,000 and the

number of “recovered” inmates has risen, the number of inmate deaths has also

continued to rise. 7




5 https://www.bop.gov/coronavirus/ (last visited July 1, 2020).
6 Brooke Wolford, “Inmate who ‘recovered’ from coronavirus dies in California
prison, officials say,” The Sacramento Bee, May 28, 2020, available at
https://www.sacbee.com/news/coronavirus/article243076476.html.
7 Chart created by the Federal Defenders of New York.

https://federaldefendersny.org/ (last visited June 29, 2020).
                                           3
Case 5:18-cr-00005-EKD Document 467 Filed 07/02/20 Page 4 of 16 Pageid#: 2278




      While the rest of the country takes tentative steps toward reopening, the

situation within BOP remains dangerous, with over fifteen hundred active cases

among inmates and staff. 8 And the absence of current cases in a facility is no

guarantee of its safety. For example, on March 29, 2020, there were no cases at FCI

Forrest City Low or FCI Elkton. 9 By April 11, there were 26 inmate cases at FCI

Forest City Low and 10 inmate cases at Elkton FCI. 10 By May 2, those numbers had

shot up, to 461 inmate cases at FCI Forest City Low and 429 cases at FCI Elkton. 11

      In addition, there is reason to question the BOP’s reporting of cases. To take

only one example, there were 1 inmate case and 7 staff cases reported at FCI Ray

Brook on April 11. 12 On April 19, local press reported that six corrections officers

and six inmates at FCI Ray Brook had the virus, 13 but the BOP reported no cases at

all there. 14 On May 14, after the BOP began reporting the numbers of “recovered”

inmates and staff, it reported that 11 inmates and 9 staff had recovered at FCI Ray

Brook. Given the continued lack of widespread testing and the ease with which the

virus spreads through asymptomatic or mildly symptomatic carriers, it is difficult to

determine the true number of cases in an institution where the virus has circulated.




8
 https://www.bop.gov/coronavirus/ (last visited June 29, 2020).
9 https://web.archive.org/web/20200329223908/https://www.bop.gov/coronavirus/
10 https://web.archive.org/web/20200411150943/https://www.bop.gov/coronavirus/
11 https://web.archive.org/web/20200502073139/https://www.bop.gov/coronavirus/ .
12 See note 12, supra.
13 “Seven inmates now ill with COVID-19 in Essex County,” North County Public

Radio, Apr. 19, 2020, available at
https://www.northcountrypublicradio.org/news/story/41193/20200419/seven-
inmates-now-ill-with-covid-19-in-essex-county
14 https://web.archive.org/web/20200419165217/https://www.bop.gov/coronavirus/


                                           4
Case 5:18-cr-00005-EKD Document 467 Filed 07/02/20 Page 5 of 16 Pageid#: 2279




      The consequences of that inability to control the spread of the disease are

clear. On April 3, the government opposed release in another case in this district,

for an inmate at FCI Butner, citing all of the BOP’s COVID-19 policies, such as

screening, visitation lockdown, and social distancing, as being sufficient to prevent

the spread of COVID-19 within Butner. See United States v. Rumley, No. 08-cr-5,

Dkt. 185, at 4–7 (W.D. Va. Apr. 3, 2020). Despite those precautions, the inmate in

question, Mr. Rumley, has now tested positive for COVID-19. See Rumley, No. 08-

cr-5, Dkt. 202.

      Indeed, a leading epidemiologist from John Hopkins University, Dr. Chris

Beyrer, has stated under oath regarding COVID-19 that the “fatality rate is . . .

above 5% (1 in 20 cases) for those with pre-existing medical conditions including

cardio-vascular disease, respiratory disease, diabetes, and immune compromise.”

(Declaration of Chris Beyrer, MD, MPH, in Support of Persons in Detention and

Detention Staff, COVID-19, (hereinafter “Beyrer Decl.”), attached hereto as Ex. B,

at ¶ 6) (emphasis added).

      As of December 2018, Congress invested this Court with the power and duty

to consider reducing a limited number of its previous sentences where extraordinary

circumstances, not foreseen at the time of sentencing, make such reconsiderations

appropriate. Now, Section 3582(c)(1)(A) of Title 18 permits a defendant to file

directly with the Court a motion seeking reduction of his or her sentence for

extraordinary and compelling reasons if: (1) the defendant has fully exhausted his

administrative remedies or (2) there has been a lapse of 30 days from the warden’s


                                          5
Case 5:18-cr-00005-EKD Document 467 Filed 07/02/20 Page 6 of 16 Pageid#: 2280




receipt of the defendant’s request, whichever is earlier. 18 U.S.C. § 3582(c)(1)(A)(i).

No longer is the Court divested of jurisdiction after sentencing a defendant. Upon

the proper showing and in light of extraordinary circumstances this Court is

permitted to release an inmate. Accordingly, upon consideration of Ms. Wright’s

extraordinary and compelling showing below, this Court should act quickly and

decisively to release him from custody and permit her to serve the remainder of her

sentence in strict home detention in order to protect her health and rights.

          Ms. Wright has two conditions that correlate to significantly worse outcomes

from COVID. See Ex. A. Like every person in this country, Ms. Wright is in danger

of contracting a pernicious, aggressive life-threatening infection—the COVID-19

virus. Unlike most people in this country, however, she has no way to practice the

social distancing and sheltered protective measures that are mandated by

governments and health officials throughout the nation and which promise some

hope of surviving the consequences of infection. Indeed, she is prevented from such

practices due to the living conditions in which she is incarcerated. In her pro se

motion, she describes the close quarters in which she and many other women are

confined. And if she contracts the virus, her pre-existing medical conditions

significantly increase the risk that severe complications, including death, will

result.

          Mr. Wright made a request for compassionate release to the warden of FCI

Greenville on March 27, 2020, seeking release because of her asthma and HIV and

the COVID-19 epidemic; she supplemented it on March 31. That request was


                                            6
Case 5:18-cr-00005-EKD Document 467 Filed 07/02/20 Page 7 of 16 Pageid#: 2281




denied on April 21, 2020. See exhibits to sealed pro se motion. She filed a

supplement to that request providing detailed release plans on May 6, 2020; as of

July 1, 2020, she has not yet received a response to her May 6 supplement. Thirty

days from the date of the request have now run, and accordingly, Ms. Wright has

exhausted his administrative remedies under 18 U.S.C. § 3582(c)(1)(A).

I.    Extraordinary and compelling reasons warrant a reduction of Ms.
      Wright’s sentence under the First Step Act


      Under the First Step Act, courts may grant the direct request of prisoners to

reduce their sentences if “extraordinary and compelling reasons” warrant such a

reduction. See First Step Act of 2018, Section 603(b), Pub. L. 115-391, 132 Stat.

5194 (2018) (amending 18 U.S.C. § 3582(c)(1)(A)(i)). Courts in this district have

used this authority to make such sentencing reductions in the context of the

COVID-19 outbreak, finding “extraordinary and compelling reasons for

compassionate release when an inmate shows both a particularized susceptibility

to the disease and a particularized risk of contracting the disease at his prison

facility.” United States v. Harper, No. 7:18-CR-00025, 2020 WL 2046381, at *3

(W.D. Va. Apr. 28, 2020) (Dillon) citing United States v. Feiling, Criminal No.

3:19cr112 (DJN), 2020 WL 1821457, at *7 (E.D. Va. Apr. 10, 2020); United States

v. Dungee, Case No. 7:15CR00005, 2020 WL 1666470, at *2 (W.D. Va. Apr. 4,

2020). The present case presents a perfect example of such “extraordinary and

compelling reasons” as Ms. Wright’s underlying health conditions put her at a

particular risk from COVID-19, and her incarceration in Bureau of Prisons puts



                                           7
Case 5:18-cr-00005-EKD Document 467 Filed 07/02/20 Page 8 of 16 Pageid#: 2282




her a particularized risk of suffering its consequences.

       A. Ms. Wright is particularly susceptible to COVID-19

       Ms. Wright suffers from multiple conditions that put her at an especially

grave risk of harm. The Centers for Disease Control have recognized that people

with moderate to severe asthma or who are immunocompromised due to HIV “might

be at an increased risk for severe illness from COVID-19.” 15

       Asthma has been connected to more severe cases of COVID-19 in multiple

studies. One study suggests that asthma increases the risk of hospitalization among

adults aged 18-49. 16 Another recent study from Rush University Medical Center

noted that COVID-19 patients with asthma tend to require longer periods of time on

ventilators. See Ex. C. Finally, a large-scale study from the UK found that certain

kinds of asthma could increase the risk of severe COVID-19 cases by as much as 48

percent. 17

       Numerous courts have also recognized the risk posed by COVID-19 to

asthma sufferers. See United States v. Mahan, -- F. Supp. 3d --, 2020 WL 1846789




15
  https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
medical-
conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%
2F2019-ncov%2Fneed-extra-precautions%2Fgroups-at-higher-risk.html (last visited
July 1, 2020)
16 Garg S, Kim L, Whitaker M, et al. Hospitalization Rates and

Characteristics of Patients Hospitalized with Laboratory-Confirmed
Coronavirus Disease 2019 — COVID-NET, 14 States, March 1–30, 2020.
MMWR Morb Mortal Wkly Rep 2020;69:458–464.
DOI: http://dx.doi.org/10.15585/mmwr.mm6915e3
17 https://www.hsph.harvard.edu/news/features/non-allergic-asthma-linked-with-

increased-risk-of-severe-covid-19/
                                           8
Case 5:18-cr-00005-EKD Document 467 Filed 07/02/20 Page 9 of 16 Pageid#: 2283




(D. Idaho Apr. 10, 2020) (granting pretrial release to inmate with moderate asthma

based on risk posed by COVID-19); United States v. Williams, 3:17-CR-121-(VAB)-1,

2020 WL 1974372 (D. Conn. Apr. 24, 2020) (granting compassionate release to a

defendant with asthma, hypertension, a history of kidney issues, and other medical

conditions); United States v. Gorai, 2:18-cr-00220-JCM-CWH-1, 2020 WL 1975372

(D. Nev. Apr. 24, 2020) (granting compassionate release to a 34-year-old defendant

with asthma as the only listed medical condition); United States v. Park, 16-cr-473

(RA), 2020 WL 1970603 (S.D. N.Y. Apr. 24, 2020) (granting compassionate release

to a 44-year-old defendant with asthma).

      This Court recently recognized that a defendant with multiple health

conditions including heart disease, asthma, hypertension, and sleep apnea qualified

for compassionate release, nothing that he had shown a particularized susceptibility

to the disease and a particular risk of contracting it in his BOP facility. United

States v. Harper, 7:18cr25, ECF 64 (W.D. Va. Apr. 28, 2020).

      Similarly, individuals with HIV are at greater risk from COVID because of

their immunocompromised state. “COVID-19 makes certain populations of people

severely ill… [C]ertain medical conditions increase the risk of serious COVID-19 for

people of any age. These medical conditions include those . . . [who are]

immunocompromised (such as from cancer, HIV, autoimmune diseases).” Ex. D,

Golob Declaration ¶ 3. “Most people in the higher risk categories” who contract the

virus “will require more advanced support” including mechanical ventilators and a




                                           9
Case 5:18-cr-00005-EKD Document 467 Filed 07/02/20 Page 10 of 16 Pageid#: 2284




 team of specialized care providers. “This level of support can quickly exceed local

 health care resources.” Id. ¶ 6.

        A recent study from South Africa, which has the highest rate of HIV infection

 in the world, and which reviewed outcomes for almost 13,000 COVID-19 patients,

 found that HIV increased a COVID-19 patient’s risk of death by a factor of 2.75. 18

 While this increase is not as substantial as that caused by some other COVID-19

 risk factors, it does present a significant risk.

        Courts considering the impacts of COVID-19 have recognized as much. One

 district court recently noted that it is undisputed that persons with HIV or AIDS

 are among those "most susceptible to developing serious medical complications from

 the infection." Benavides v. Gartland, No. 5:20-CV-46, 2020 WL 1914916, at *2 (S.D.

 Ga. Apr. 18, 2020) (citing CDC guidance from April 2019); United States v. Mason,

 CAUSE NO. 3:17-CR-104-CWR-LRA-3, ECF 63 (S.D. Miss. Jun. 9, 2020) (granting

 compassionate release to an inmate with asthma and HIV). See also Max Bearak &

 Joanna Slater, Among the most vulnerable to coronavirus: The tens of millions who

 carry HIV and tuberculosis, Wash. Post, Apr. 9, 2020.

        Ms. Wright thus has two serious health conditions that place her at risk.

 Under normal, pre-COVID-19 circumstances, both would be manageable in a prison

 setting with careful monitoring and prompt attention. Under the present

 circumstances, however, Ms. Wright faces a serious risk of grave illness and death




  https://www.sciencemag.org/news/2020/06/hiv-and-tb-increase-death-risk-covid-
 18

 19-study-finds-not-much
                                             10
Case 5:18-cr-00005-EKD Document 467 Filed 07/02/20 Page 11 of 16 Pageid#: 2285




 because of the impact of a COVID-19 infection on someone with her preexisting

 conditions.

           B. Mr. Wright is at particular risk of COVID-19 at FCI Greenville

           The COVID-19 virus has spread with alarming ease within BOP facilities,

 despite efforts by the BOP to check its progress. Currently, the infection rate within

 BOP is almost six times the national infection rate within the United States. See

 table, below. 19




 The BOP is reporting only 1 “recovered” case at FCI Greenville, but the ease with

 which the virus has spread throughout BOP facilities strongly suggests that a low

 current case load is no guarantee of safety. Courts have recognized as much: in

 United States v. Feucht, -- F. Supp. 3d --, 2020 WL 2781600 (S.D. Fla. May 28,

 2020), the court recognized that “zero confirmed COVID-19 cases is not the same

 thing as zero COVID-19 cases” at FCI Jesup, where the defendant was housed, and

 granted compassionate release. See also United States v. Atkinson, No. 2:19-CR-55


 19
      See https://federaldefendersny.org/ (last visited June 30, 2020)
                                                    11
Case 5:18-cr-00005-EKD Document 467 Filed 07/02/20 Page 12 of 16 Pageid#: 2286




 JCM (CWH), 2020 WL 1904585, *2-4 (D. Nev. Apr. 17, 2020) (granting

 compassionate release to the defendant, notwithstanding that FCP Atwater where

 he was housed had seen no cases of COVID-19 because the realities of prison life

 made it impossible for medically vulnerable inmates like Mr. Atkinson to follow

 CDC guidelines to protect themselves in the face of COVID-19); United States v.

 Amarrah, 2020 WL 2220008 (E.D. Mich. May 7, 2020) (releasing medically

 vulnerable inmate from FCI Loretto, despite no reported COVID-19 cases at the

 facility, because he could not adequately protect himself in line with CDC

 guideline); United States v. Regas, No. 391CR00057MMDNA1, 2020 WL 2926457, at

 *3 (D. Nev. June 3, 2020) ("The fact that there are no confirmed COVID-19 cases at

 Herlong is not reassuring, given that there is no facility-wide testing[.]"); United

 States v. Burrill, No. 17-CR-00491-RS-1, 2020 WL 1846788, at *2 (N.D. Cal. Apr. 10,

 2020) (“Federal correctional institutions, which had reported zero COVID-19 cases

 only weeks ago, and despite the steps the BOP has taken to contain the disease

 within its facilities, are now reporting numerous virus-related deaths.”) (citations

 omitted).

       The lack of widespread testing at FCI Greenville underlines these concerns.

 Although the medium security prison and the camp together hold 1,251 inmates,

 only 106 tests have been conducted. 20 Thus, while one positive inmate was

 identified, the lack of testing for more than ninety percent of the population at the



 20
   https://www.bop.gov/coronavirus/ (last visited July 1, 2020). The BOP also notes
 that the number of tests conducted is not equal to the number of inmates tested,
 since some inmates may have been tested more than once.
                                            12
Case 5:18-cr-00005-EKD Document 467 Filed 07/02/20 Page 13 of 16 Pageid#: 2287




 prison makes it impossible to say that COVID-19 has been contained there. Ms.

 Wright remains at particular risk from contracting COVID-19 while being held by

 the Bureau of Prisons.

       II. A sentence of time served is sufficient to accomplish the goals of
       sentencing

       When extraordinary and compelling reasons are established, the Court must

 consider the relevant sentencing factors in § 3553(a) to determine whether a

 sentence reduction is warranted. 18 U.S.C. § 3582(c)(1)(A)(i). Under all of the

 circumstances in this case, the Court should conclude that the time that Ms. Wright

 has already served is sufficient to satisfy the purposes of sentencing. Under Pepper

 v. United States, 562 U.S. 476, 492 (2011), the Court can, and indeed must, consider

 “the most up-to-date picture” of the defendant’s history and characteristics, which

 “sheds light on the likelihood that [the defendant] will engage in future criminal

 conduct.”

       Here, the overriding factor under § 3553(a) that was not present at the time

 of sentencing is the COVID-19 pandemic and the serious risk it presents. Although

 the circumstances of the present offense qualified Ms. Wright for the serious

 sentence that this Court originally imposed, the sentencing purpose of just

 punishment does not warrant a sentence that includes exposure to a life-

 threatening illness or permanent disability. Ms. Wright is at grave risk should she

 remain incarcerated, and she should have the benefit of social distancing in an

 environment that avoids the direct risk of COVID-19 exposure she currently faces.




                                           13
Case 5:18-cr-00005-EKD Document 467 Filed 07/02/20 Page 14 of 16 Pageid#: 2288




       Ms. Wright is not a danger to the community. Her only countable criminal

 history prior to this conviction consists of a single shoplifting misdemeanor for

 stealing cleaning supplies. PSR ¶ 44. While she participated in the conspiracy in

 this case, the PSR identified her as a street level dealer and courier, who was paid

 to drive to California to pick up drugs, and whose compensation for the use of her

 apartment was free dinners and other entertainment. PSR ¶ 28. Since her time in

 Bureau of Prisons, she has completed drug education and is on the waiting list for

 drug treatment. Ex. E. Unfortunately, due to the COVID-19 crisis, Ms. Wright

 reports that drug treatment programs and other educational programing are

 currently suspended at FCI Greenville. Given the uncertain duration of the

 pandemic and BOP’s evolving response to it, it is unclear when those programs can

 safely resume.

       Ms. Wright has had no infractions or discipline within BOP, and she is

 classified as presenting a low risk of recidivism and a minimum security

 classification. Id. She earned her GED while in BOP and completed her financial

 requirements. Id.

       Although she has not yet passed the halfway point in her sentence, that fact

 does not bar her from compassionate release. Indeed, courts have granted it in cases

 where defendants have served a far smaller percentage of their sentence than Ms.

 Wright has. For example, in United States v. Delgado, -- F. Supp. 3d --, 2020 WL

 2464685 (D. Ct. Apr. 30, 2020), the court granted compassionate release to a




                                           14
Case 5:18-cr-00005-EKD Document 467 Filed 07/02/20 Page 15 of 16 Pageid#: 2289




 defendant who had served approximately 29 months of a 120 month sentence for

 distribution of over 5 kilograms of cocaine under 21 U.S.C. § 841(b)(1)(A).

       Ms. Wright has a reasonable release plan. As described in her pro se motion,

 she has a place to live with her grandmother, a plan for her healthcare, and a

 family member who is willing to pick her up upon release.

        By the same token, Ms. Wright asks the Court to permit her to spend any 14

 day quarantine period upon release in home detention, rather than in Bureau of

 Prisons. As the government recently admitted in another case in this district, United

 States v. Stevens, inmates like Ms. Wright have been in “effective quarantine” for weeks

 now in Bureau of Prisons. Several judges in this district have now released defendants

 to self-quarantine at home. See, e.g., United States v. Stevens, 1:08-cr-15 (Order May 6,

 2020); United States v. Tinsley, No. 3:12-cr-20 (Order April 28, 2020); United States v.

 Harper, No. 7:18-cr-25 (Order April 28, 2020); United States v. McLendon, 3:17cr1

 (Order June 22, 2020). Ms. Wright should be similarly permitted to self quarantine in

 her own home.

       Conclusion

       For these reasons, Ms. Wright asks this Court to enter an order granting her

 immediate release on conditions of home detention and reducing her sentence to

 time served. Extraordinary and compelling reasons warrant reduction of Ms.

 Wright’s sentence, as both her underlying health conditions and the situation in

 BOP put her at grave risk from COVID-19. A sentence of time served, followed by a

 period of home detention for the remainder of her incarceration, is sufficient but not

 greater than necessary to meet the goals of sentencing.

                                             15
Case 5:18-cr-00005-EKD Document 467 Filed 07/02/20 Page 16 of 16 Pageid#: 2290




                                  Respectfully submitted,

                                  JUDITH WRIGHT
                                  By counsel

                                  Counsel:
                                  /s/ Erin Trodden
                                  Erin Trodden
                                  Asst. Federal Public Defender VSB 71515
                                  116 N. Main St., Room 305
                                  Harrisonburg, VA 22802
                                  Tel (434) 220-3396
                                  Counsel for Defendant




                             CERTIFICATE OF SERVICE
 I hereby certify that on July 2, 2020, I electronically filed the foregoing with the
 Clerk of the Court using the CM/ECF system which will send notification of such
 filing to the following: counsel of record; and I hereby certify that I have mailed by
 United States Postal Service the document to the following non-CM/ECF
 participants: none.


                                  /s/ Erin Trodden




                                            16
